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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   4:03CR00283-02-WRW

LARRY STEVEN BENSON

                                            ORDER

       Pending is a motion (Doc. No. 194) filed by the United States of America and the

Director of the Federal Bureau of Prisons under18 U.S.C. § 3582(c)(1)(A)(i), seeking a

modification of the term of imprisonment of Defendant Larry Steven Benson to time served, and

the immediate commencement of a five-year term of supervised release previously imposed.

The Court finds:

       1. Defendant pled guilty to violation of 21 U.S.C. § 846, Conspiracy to Possess with

Intent to Distribute Cocaine.

       2. He was sentenced on February 4, 2005, in the United States District Court for the

Eastern District of Arkansas to a 94-month term of imprisonment followed by a 5-year term of

supervised release.

       3. Defendant’s projected release date is November 7, 2012, via Good Conduct Time, but

he may not survive to that date.

       4. Defendant, age 48, suffers from end-stage renal disease and continued dialysis is

problematic because of limited vascular access. He also suffers from severe, persistently

symptomatic, multi-vessel coronary artery disease, and chronic obstructive pulmonary disease

(COPD). His condition is non-operable due to his other complicating medical conditions and

impaired lung function. His co-morbid conditions include hyperlipidemia, hypothyroidism,

anemia, and chronic hepatitis C viral infection. He has sustained right leg above-the knee

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amputation due to gangrene, and is vulnerable to subsequent amputations. He is currently

intubated and is assessed as critically ill.

        5. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the Director

of the Bureau of Prisons, to modify a term of imprisonment upon the finding that extraordinary

and compelling reasons warrant the reduction. The Director of the Bureau of Prisons contends,

and this Court agrees, that Defendant’s terminal medical condition and limited life expectancy

constitute extraordinary and compelling reasons that warrant the requested reduction.

                                           CONCLUSION

        The motion (Doc. No. 194) is GRANTED. Accordingly, Defendant’s term of

imprisonment is reduced to TIME SERVED. Defendant will be released from the custody of the

Federal Bureau of Prisons as soon as his medical condition permits, the release plan is

implemented, and travel arrangements can be made. Once released from the custody of the

Federal Bureau of Prisons, Defendant will begin serving the five-year term of supervised release

previously imposed.

        IT IS SO ORDERED, this 27th day of December, 2010.



                                               /s/ Wm. R. Wilson, Jr.____________
                                               UNITED STATES DISTRICT COURT




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